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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

RAMONA THURMAN BIVINS,
Plaintiff,

V.

FELICIA FRANKLIN, in her individual
and official capacities:

ALIEKA ANDERSON, in her individual
and official capacities;

GAIL HAMBRICK, in her individual
and official capacities; and

CLAYTON COUNTY, GEORGIA,

CIVIL ACTION FILE NO.::
1:22-cv-04149-WMR

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Defendants.

ORDER
This matter is before the Court on Defendant Anderson’s Consent Motion

for an Extension of Time to File Reply to in Support of the Motion for Judgment
on the Pleadings. Plaintiff having consented to it, and for good cause shown, the
Motion is GRANTED. Defendant’s deadline to file her reply in support of her

Motion for Judgment on the Pleadings [Doc. 29] is extended to February 3, 2023.

IT IS SO ORDERED, this 23rd day of January, 2023.

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WILLIAM M. RAY,
UNITED STATES DISTRICT JUDGE

 
